           Case 3:15-cv-01836-AWT Document 169 Filed 08/24/20 Page 1 of 4




                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT

    ROBERT SCOTT BATCHELAR                              :   Civil Action No.
    Individually and on behalf of all others            :
    similarly situated,                                 :   3:15-CV-01836 (AWT)
                                                        :
           Plaintiff                                    :
                    vs.                                 :
    INTERACTIVE BROKERS, LLC,    :                      :
    INTERACTIVE BROKERS GROUP, INC.,                    :
    and THOMAS A. FRANK                                 :
                                                        :
          Defendants.                                   :     August 24, 2020
                                                        :
                       PLAINTIFF’S NOTICE OF DISCOVERY DISPUTE

          Per this Court’s instruction, Plaintiff files this Notice of Discovery Dispute 1


1.        Production of Missing Source Code. This Court previously ordered IB to produce its

Auto-Liquidation Software Source Code. 2 In response, IB produced apparently complete Source

Code from only three of the six Source Code modules. IB is withholding Source Code from

three of the six modules as explained in detail in Plaintiff’s April 9, 2020, letter to IB. Plaintiff

has explained the issue and formally conferred with IB by telephone on March 18, 2020, and by

letter on April 9, 2020. IB has not denied that the Source Code identified by Plaintiff is missing

from the production, has not produced the missing Source Code, and has made no excuse for not

having produced the Source Code. Plaintiff’s experts advise that examination of the missing

Source Code is needed to confirm their initial opinions and identify for the Court the specific



1ECF 153, Transcript January 6, 2020, 6/18 – 6/25. The Court ordered that the Notice be no
more than two pages..
2
    ECF 78, Transcript January 14, 2019, 12/18 –14/14.
                                                    1
         Case 3:15-cv-01836-AWT Document 169 Filed 08/24/20 Page 2 of 4



instructions in the code that are both (1) common to all class members’ liquidations and (2) the

basis of Plaintiff’s claims in this litigation—both determinations being integral to the issue of

class certification.

2.      Remote Access to Source Code Materials. Because of COVID-19 restrictions, Plaintiff

requested by letter and IB denied by letter remote access to Source Code Materials. In 2019,

before COVID-19, Plaintiff agreed to a special protective order for IB’s Source Code (ECF 127

and ECF 136), which effectively requires all Source Code discovery, document review and

depositions to be conducted in person (not Zoom) in Hartford or Stamford. This is now

impractical, impossible or medically dangerous under COVID-19 restrictions on travel of

counsel and experts. By letter, Plaintiff has proposed strict, secure protocols for remote access

to the Source Code documents and has invited IB to propose alternatives. IB’s response, by

letter, has been “no,” with no alternatives proposed. Plaintiff believes IB is refusing any form of

remote access to impede Plaintiff’s ability to develop this case.

        This Notice of Discovery Dispute is an extreme abridging of the discovery sought and the

discovery disputes. Plaintiff has not resolved whether there is a need to conduct jurisdictional

discovery at this time. Other issues may need to be addressed by the Court; however, in

deference to the hardships of COVID-19, Plaintiff hopes to defer all or most of those other

disputes to the merits stage after a class is certified, without waiving those other disputed issues

and without prejudice to further discovery.




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      Case 3:15-cv-01836-AWT Document 169 Filed 08/24/20 Page 3 of 4



                                              Respectfully submitted,

                                              /s/_____________________

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                                          3
         Case 3:15-cv-01836-AWT Document 169 Filed 08/24/20 Page 4 of 4




                                        CERTIFICATION

       I hereby certify that on the 24th day of August 2020, a copy of the foregoing was filed

electronically. Notice of this filing will be sent by email to all parties by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s system.




                                                       By: /s/______________________
                                                               William M. Bloss




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